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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       LEXINGTON
 BRANDON GRAY,                                     )
                                                   )
         Plaintiff,                                )         Civil No. 5:22-cv-00080-GFVT
                                                   )
 v.                                                )
                                                   )
 FEDERAL BUREAU OF PRISONS, et al.,                )                     ORDER
                                                   )
         Defendants.                               )

                                   *** *** *** ***
        Federal inmate Brandon Gray recently filed a pro se civil rights complaint with this

Court. [See R. 1.] Gray also filed a motion for leave to proceed in forma pauperis [R. 3], along

with what appears to be a printout of some inmate financial information [see R. 4 at 2].

However, Gray’s fee motion is deficient because the financial information was not certified by

an appropriate official at the prison at which Gray is confined, as required by 28 U.S.C. §

1915(a)(2). [See id. at 1 (showing that the form’s certification section, which is to be completed

by a prison official, is blank).]

        Accordingly, it is ORDERED that:

        1. Gray’s current motion for leave to proceed in forma pauperis [R. 3] is DENIED

            without prejudice.

        2. The Clerk’s Office is directed to send Gray the following blank forms:

                a. an Application to Proceed in District Court Without Prepaying Fees or Costs

                      [AO 240 form]; and

                b. a Certificate of Inmate Account Form [E.D. Ky. 523 form].

        3. Within 30 days from the entry of this Order, Gray must either (a) pay the $402.00

            in filing and administrative fees up front and in full or (b) properly ask to pay the
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        filing fee in installments over time by completing and filing both the AO 240 and

        E.D. Ky. 523 Forms. If Gray chooses to file the AO 240 and E.D. Ky. 523 Forms, the

        latter form must be certified (signed) by a prison official.

    4. If Gray fails to comply with this Order within the time allotted, the Court will dismiss

        this case without prejudice.



 This the 12th day of April, 2022.




                                              2
